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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                                           JJJ4       -5         9
                                   AUSTIN DIVISION
COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., et at.
-vs-                                                                   CaseNo. 1:iScv295LY
CONSUMER FINANCIAL PROTECTION
BUREAU, et al


                                                  I
       BE IT REMEMBERED on            this the                   day   of_____________                    2:          th

was presented      to the    Court the      Motion for               Adn*ion Fio               ic        Vice    filed by
                                                                           c   C   izcr_                   t

                                                                           1T   Cduca                r

        Rebecca Smullin             ('Applicant       1.   counsel for                                                 and

the Court, having reviewed the motion, entcs th following oroer:

       ITIS ORDERED that the Motion        :r Admission              ro Hoc Vice is GRANTED, and Applicant

ma apptar on behalf of                                         ______ in the above case

       IT IS   FURTFmR ORDERhD that Applicant,                  if   Applicant has         not already done so, shall.

in compliance with Local Court Rule AT1ffl(2), immediately tender the amount of                                      1OO.00,

made payable to: Clerk U.S. District Court.

       iT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

regi sier as a filing user within 10 days of the date of this Order.

       IT IS FINALLY ORDERED that Applicant's Pro Hoc                    Vice status       shall not become effective

until Applicant has complied with all provisions of this         Order.


        SIGNED this the     1rIJ      day of   ...J                                    20S0.
